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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                             Plaintiff,              )
                                                     )
                        v.                           )       No. 1:19-cr-00388-JPH-DLP
                                                     )
HENRY JONES,                                         ) -01
                                                     )
                             Defendant.              )

         Order Denying Motion for Time Credit and Transfer to a Medical Facility

       Defendant Henry Jones filed a motion stating that he is entitled to a 120-day time credit

and seeking transfer to a medical facility. For the reasons explained below, the motion, dkt. [46],

is denied because the Court does not have the authority to grant the requested relief.

       "After a district court sentences a federal offender, the Attorney General, acting through

the Bureau of Prisons, has the responsibility for administering the sentence." United States v.

Wilson, 503 U.S. 329, 335 (1992). A challenge to the sentence computation, if made at all, could

be asserted through an action for a writ of habeas corpus brought pursuant to 28 U.S.C.

§ 2241(c)(3) naming the defendant's custodian as respondent and filed after administrative

remedies have been exhausted. Such an action could only properly be brought in the district of the

defendant's confinement.

       Similarly, the authority to place a prisoner at a particular prison rests with the Bureau of

Prisons. 18 U.S.C. § 3621(b). Mr. Jones is correct that the Court recommended that the Bureau of

Prisons place him at a medical facility, but this was only a recommendation. See dkt. 42 at p. 2.




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       For these reasons, the motion for time credit and transfer to a medical facility, dkt. [46],

is denied.

SO ORDERED.

Date: 5/11/2021




Distribution:

Henry Jones
Reg. No. 17398-028
United States Penitentiary, Big Sandy
P.O. Box 2068
Inez, KY 41224

All Electronically Registered Counsel




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